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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

IN RE:                                         )
                                               )
UC Colorado Corporation                        )               Case No. 20-12689-JGR
Tax ID / EIN: XX-XXXXXXX,                      )               Chapter 11
                                               )
         Debtor.                               )


    UNITED STATES TRUSTEE’S OBJECTION TO DEBTORS’ MOTION FOR AN
     ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES
          PURSUANT TO RULE 1015(b) OF THE FEDERAL RULES OF
                      BANKRUPTCY PROCEDURE


       Patrick S. Layng, the United States Trustee for Region 19 (the “UST”), by and through
counsel, objects to the Debtors’ Motion for an Order Directing Joint Administration of Chapter 11
Cases pursuant to rule 1015(b) of the Federal Rules of Civil Procedure (the “Motion for Joint
Administration”), and in support of the objection, states as follows:

        1.       UC Colorado Corporation (“UC Colorado”) and United Cannabis Corporation
(“UCANN” and together with UC Colorado, the “Debtors”) filed their respective voluntary
petitions for relief under chapter 11 of title 11, United States Code, on April 20, 2020 (the “Petition
Date”), thereby commencing Case No. 20-12689-JGR and Case No. 20-12692 JGR, respectively.

       2.      Pursuant to Sections 1107 and 1108, Debtors continue to manage their affairs as
debtors-in-possession.

         3.    Official committees of unsecured creditors have not yet been appointed in these
cases.

        4.     On May 7, 2020, the Debtors filed the Motion for Joint Administration in their
respective cases, in which they request the joint administration of the two cases for procedural
purposes only and request to file Monthly Operating Reports on a consolidated basis.


                                              Objection

        5.      The UST does not object to the Debtors’ request that these two case be administered
jointly for procedural purposes.

        6.     However, the UST does object to the Debtors’ request to file Monthly Operating
Reports on a consolidated basis. The Debtors cite no authority for that request. The UST observes
that these are two separate cases of two debtors and the estates have not been substantively
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consolidated. According to the Debtors’ Schedules, the Debtors have different assets and different
creditors. As just one example, Debtor UCANN lists 26 creditors on its Schedule F, while Debtor
UC Colorado lists 170 creditors on its Schedule F.1

         7.     The Debtors should submit separate Monthly Operating Reports relating to their
specific estates so that creditors of the respective estates as well as the Court and other parties in
interest may properly review and evaluate the financial affairs and transactions of each of the two
estates.

        WHEREFORE, the UST objects to the Motion for Joint Administration for the reasons set
forth above.


Dated: May 20, 2020                                Respectfully submitted,

                                                   PATRICK S. LAYNG
                                                   UNITED STATES TRUSTEE

                                                   By: /s/ Alan K. Motes
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    See Docket No. 37 in Case No. 20-12689-JGR and Docket No. 39 in Case No. 20-12692-JGR.
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